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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

In re:                                       )
                                             )
WILLIAM ANTHONY NECE and                     )     Case No. 20-10500-BFK
STANETTE LEE NECE,                           )     Chapter 7
                                             )
         Debtors.                            )
                                             )
LOANCARE, LLC,                               )
                                             )
         Movant,                             )
                                             )
v.                                           )
                                             )
WILLIAM ANTHONY NECE,                        )
                                             )
STANETTE LEE NECE,                           )
                                             )
and                                          )
                                             )
DONALD F. KING, TRUSTEE                      )
                                             )
         Respondents.                        )

                                        ANSWER

         DONALD F. KING, TRUSTEE (the “Trustee”), by counsel, files his Answer to the

Motion for Relief From the Automatic Stay (the “Motion”) filed by LoanCare, LLC

(“Movant”) in the above referenced case for the property located at 7125 Whetstone

Road, Alexandria, VA 22306 (the “Property”), and states as follows:

         1.    The Trustee admits the allegations contained in Paragraphs 1 and 3 of

the Motion.

Bradley Jones (VSB No. 85095)
Counsel for the `Trustee
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      2.     The Trustee, lacking sufficient knowledge of the allegations contained in

Paragraphs 2 and 4 of the Motion, neither admits nor denies such allegations and

requires proof thereof.

      3.     The Trustee denies the allegations contained in Paragraph 5 of the

Motion.

                                AFFIRMATIVE DEFENSE

      Assuming, without admitting, that Movant’s allegations in the Motion are

correct, there is a significant equity cushion protecting Movant’s alleged interest in the

Property. According to the Debtors’ Schedules, LoanCare, LLC is the first lien holder.

Dkt. No. 1 at 20. Movant alleges that the total amount due under its Note, including

interest and attorney’s fees, is $250,741.84 as of April 1, 2020. Dkt. No. 17 at 5. The

Trustee is having the Property evaluated by a realtor and has received a desktop

valuation, estimating the value of the Property to be $550,000.00. As a result, there

appears to be significant equity in the Property. The Trustee is currently investigating

the Property to determine if this asset can be administered for the benefit of creditors.

      If the Property is sold, the Movant’s debt will be paid in full from any sale of the

Property by the Trustee or on terms that are agreeable to the Movant. As a result, the

Trustee believes that Movant’s alleged interests are adequately protected by the equity

cushion in the Property.




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      WHEREFORE, Donald F. King, Trustee, by counsel, requests that this Court

enter an order denying Movant’s Motion for Relief from the Automatic Stay.

                                     DONALD F. KING, TRUSTEE
                                     By Counsel


By:        /s/ Bradley D. Jones
      Bradley D. Jones (VSB No. 85095)
      Counsel for Trustee
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the Answer was sent via
Notice of Electronic Filing upon counsel for Movant, counsel for Debtor, and all
registered users in this case pursuant to this Court’s CM/ECF policy.



                                    /s/ Bradley Jones
                                     Bradley Jones




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